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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


LIYANARA SANCHEZ, as next friend on behalf
of FRENGEL REYES MOTA, et al.,

Petitioners–Plaintiffs,

J.G.G., et al.,

Plaintiffs,                                                 Case No: 1:25-cv-00766-JEB

v.

DONALD J. TRUMP, in his official capacity as
President of the United States, et al.,

Respondents–Defendants.



                  NOTICE REGARDING JURISDICTIONAL DISCOVERY

        Pursuant to the Court’s order dated May 8, 2025, Petitioners–Plaintiffs (“Petitioners”)

write to notify the Court that although the current record is sufficient to establish jurisdiction

under 28 U.S.C. § 2241, Petitioners propose to propound the limited jurisdictional discovery

requests attached hereto as Exhibit A. Should the Court approve the proposed discovery requests,

Petitioners will serve these requests upon Respondents in the finalized form contemplated by the

Federal Rules of Civil Procedure.



 Dated: May 12, 2025                                Respectfully submitted,

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 Spencer Amdur                                      Sidra Mahfooz
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